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                                  U.S. DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

MIDWEST TERMINALS OF TOLEDO                           :
INTERNATIONAL, INC.,                                  :
387 West Dussell Drive                                :
Toledo, OH 43537                                      :
                                                      :
       Plaintiff,                                     :
                                                      :       CASE NO. 2:18-cv-2660-JJH
v.                                                    :
                                                      :       JUDGE JEFFERY J. HELMICK
INTERNATIONAL LONGSHOREMEN’S                          :
ASSOCIATION,                                          :       SECOND AMENDED
        Serve:                                        :       COMPLAINT WITH
Mr. Harrold A. Daggett                                :       JURY TRIAL DEMAND
International Longshoremen’s Assn.                    :
5000 West Side Avenue                                 :
Suite 100                                             :
North Bergen, NJ 07047                                :
                                                      :
       and                                            :
                                                      :
INTERNATIONAL LONGSHOREMEN’S                          :
DIVISION – GREAT LAKES DISTRICT                       :
COUNCIL,                                              :
                                                      :
       And                                            :
                                                      :
INTERNATIONAL LONGSHOREMEN’S                          :
ASSOCIATION, LOCAL 1982                               :
                                                      :
       Defendants.                                    :

                                             PARTIES

       1.      Midwest Terminals of Toledo International, Inc. (hereinafter “Midwest” or

“Plaintiff”), is a corporation organized and existing under the laws of the State of Ohio and

has its principal office and place of business located in Maumee, Ohio, within the territorial

jurisdiction of this Court. Plaintiff is engaged in the stevedoring, loading, unloading and

storage of waterfront cargo and its further distribution into interstate commerce.
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        2.      The International Longshoremen's Association (“ILA”) is a labor union

representing longshoremen workers along the East Coast of the United States and Canada, the

Gulf Coast, the Great Lakes, Puerto Rico, and inland waterways. The ILA has approximately

200 local affiliates in port cities in these areas.

        3.      Defendant International Longshoreman’s Division – Great Lakes District Council

(“ILA Great Lakes”) is a labor union representing longshoremen in the Great Lakes area and

negotiates area agreements and enforces those contracts.

        4.      Defendant International Longshoremen's Association Local 1982 (“ILA Local

1982”) is an unincorporated labor organization whose authorized officers and agents were

engaged in representing and/or acting for personnel at Midwest until January 3, 2018 when a

majority of the bargaining unit employees signed a petition that they no longer wanted ILA

Local 1982 to represent them and Midwest then withdrew recognition from ILA Local 1982.

        5.      ILA, ILA Great Lakes and ILA Local 1982 are collectively referred to as

“Defendants.”

                                           JURISDICTION

        6.      Jurisdiction is conferred on this Court pursuant to the provisions of Section 303 of

the Labor Management Relations Act, 29 U.S.C. § 187, 29 U.S.C. § 158(b)(4) and (e). This

Court also has jurisdiction pursuant to 28 U.S.C. § 1331, relating to civil actions for damages

arising “under the Constitution, laws or treatises of the United States,” and 28 U.S.C. § 1337,

relating to civil actions or proceedings “arising under any act of Congress regulating commerce.”

        7.      Defendant ILA is a “labor organization” within the meaning of Section 2(5) of the

National Labor Relations Act, 29 U.S.C. § 152(5).




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         8.    Defendant ILA Great Lakes is a “labor organization” within the meaning of

Section 2(5) of the National Labor Relations Act, 29 U.S.C. § 152(5).

         9.    Defendant ILA Local 1982 is a “labor organization” within the meaning of

Section 2(5) of the National Labor Relations Act, 29 U.S.C. § 152(5).

         10.   Venue is appropriate in this Court in that the actions complained of took place

within Lucas County of the Northern District of Ohio.

                                            FACTS

         11.   Midwest operates a port at the mouth of the Maumee River. Among other things,

Midwest employs individuals to perform stevedoring activities.

         12.   Midwest and ILA Local 1982 were parties to a Local collective bargaining

agreement effective January 1, 2006 to December 31, 2010 (the “Local CBA”). The Local CBA

has long since expired. ILA Local 1982 was decertified on January 3, 2018 after a majority of

the employees in the bargaining unit signed a petition that the employees no longer wanted ILA

Local 1982 to represent them.

         13.   Midwest and ILA Local 1982 were also signatory to a Collective Bargaining

Agreement of the ILA Great Lakes and the Lakes Stevedore Employers. This contract expired

on December 31, 2012, was a voluntary contract that Midwest elected to terminate and not

renew.

         14.   Negotiations between Midwest and ILA Local 1982 to replace the expired Local

CBA were unsuccessful.

         15.   ILA Local 1982 had been a disfunctional union for many years. Its history of

disfunction was reported in a National Labor Relations Board case citation 289 NLRB 670

(1986). This long disfunctional history went back decades into the 1950’s and was a workforce



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with divided factions as found by the Judge. The divided factions and disruptions inside ILA

Local 1982 were long before Midwest or its predessor were contractually hired to operate the

Port at Toledo. The companies just inherrited the workforce and its internal divisions.

       16.     During the time Midwest has operated the Port at Toledo, Local 1982 has been

placed into Trusteeship by the Defendant ILA twice. The first Trusteesship was in 2010 and

ended sometime in 2012 with the election of new ILA Local 1982 officers.

       17.     The cause of action in the matter herein and the liabilities resulting therefrom

started during the second time the ILA appointed its agents to run ILA Local 1982.

       18.     On May 24, 2016, William R. McNamara (ILA V.P.) recommended to Harold

Daggett (ILA Pres.) that Local 1982 be placed in Trusteeship because, amongst other things,

Local 1982 had no money in the treasury, it currently owed its law firm $15,000 and would most

likely be required to pursue additional litigation. A true and accurate copy is attached hereto as

Exhibit A.

       19.     McNamara requested that William Yockey (ILA V.P.) be appointed as a Trustee.

       20.     Yockey is a Vice-President of the ILA, and therefore, was an agent acting on

behalf of the ILA throughout his time as Trustee for Local 1982, including the unlawful actions

set forth in this Second Amended Complaint. See also, Roster of ILA Executive Council

(https://ilaunion.org/ila-executive-council/) listing Yockey as an ILA V.P. attached hereto as

Exhibit B.

       21.     On August 29, 2016, Yockey sent correspondence to Daggett requesting that

Local 1982 be placed in Trusteeship. The correspondence was on letterhead identifying Yockey

as an ILA V.P. A true and accurate copy is attached hereto as Exhibit C.




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       22.      Subsequently, on September 26, 2016 Daggett ordered a hearing regarding

Yockey’s request for the imposition of Trusteeship. A true and accurate copy is attached hereto

as Exhibit D.

       23.      On November 11, 2016, Virgil Maldonado (ILA V.P.) sent correspondence to

Daggett enclosing the Committee Report and Recommendations related to the hearing. The

Committee recommended that that Local 1982 be placed in Trusteeship. A true and accurate

copy is attached hereto as Exhibit E.

       24.      Accordingly, on November 21, 2016 Daggett placed Local 1982 in Trusteeship

and appointed Yockey as Trustee “to immediately take charge and control of the books, records,

property, assets, funds and affairs.” In his correspondence, Daggett recognized Yockey as an

ILA V.P. A true and accurate copy is attached hereto as Exhibit F.

       25.      On December 2, 2016 appointed Mike Baker (V.P., Atlantic Coast Dist.) as Co-

Trustee. A true and accurate copy is attached hereto as Exhibit G.



       26.      Upon informtion and belief, from December of 2016 to the present, ILA Local

1982 has been run by and through the ILA via President Daggett’s appointment of Yockey (ILA

V.P.) a and M. Baker, ecretary Treasure of ILA Great Lakes. Both Yockey and M. Baker ran

ILA Local 1982 as agents of the ILA and the ILA Great Lakes and all three entities are jointly

and severally liable for any damages caused by these gentlemen acting as their agents in this

lawsuit.

       27.      On December 2, 2016, Mr. Yockey formally advised Plaintiff that the ILA had

placed ILA Local 1982 into Trusteeship and “all officers and have been removed from office and

no longer have authority in the affairs of the Local” and that total control of Local 1982 now



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rested with Mr. Yockey for “all future matters between Midwest Terminals Inc. and ILA Local

#1982.” The letterhead on the correspondence identifies Yockey as an ILA Vice President. A

true and accurate copy is attached hereto as Exhibit H.

       28.     On December 16, 2016, Yockey formally advised Midwest that Mr. Michael

Baker, Secretary Treasure of the ILA Great Lakes, acting as the ILA Great Lakes agent, was the

only other Trustee appointed by ILA to run ILA Local 1982. As the letter states. “Mr. Michael

Baker and I are the only officials of the Union, and We alone represent the Union…” A true and

accurate copy is attached hereto as Exhibit I.

       29.     On January 25, 2017, Yockey sent correspondence to Plaintiff and again stated

that he and M. Baker were in charge of ILA Local 1982 and they alone ran the operation. A true

and accurate copy is attached hereto as Exhibit J.

       30.     On February 1, 2018, Yockey sent an e-mail to Jim Paylor (ILA Assistant General

Organizer ILA), Mike Baker (Co-Trustee) and John Baker, Jr, (Pres. Great Lakes Dist. Council)

attaching a Local 1982 Trusteeship Report to be submitted to Daggett. The subject line of the e-

mail is titled “Send Lawyers Guns and Money.” A true and accurate copy is attached hereto as

Exhibit K.

       31.     On May 1, 2018, Co Trustees Yockey and Mike Baker held a meeting with the

Local 1982 membership. The meeting minutes authored by Baker specifically state that the

“International and GLDC [Great Lakes District Council] have been helping the Local financially

pay for the [l]egal bills that have occurred due to fighting Midwest Terminals.” A true and

accurate copy is attached hereto as Exhibit L.




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       32.     Further, the minutes noted that “18 month Trusteeship is about to expire at the

end of May and [Yockey] was trying to get an extension from the International since there are so

many outstanding NLRB charges and other battles that the Trustees are still fighting.” Id.

       33.     On October 31, 2018, Paylor sent e-mail correspondence to numerous ILA

affiliated persons noting that Trustee Yockey has been supported by the International and GLDC

in its ongoing fight against Midwest and calling on various other locals and Districts to donate

money so Yockey can continue picketing against Midwest and for his legal expenses. A true and

accurate copy is attached hereto as Exhibit M.

       34.     Finally, April 10, 2019 meeting minutes of an ILA Local #1982 Union Meeting

held on April 9, 2019 noted that the Local only had $693.00 in its account. A true and accurate

copy is attached hereto as Exhibit N.

       35.     As Trustees, Yockey and M. Baker controlled ILA Local 1982.

       36.     They acted as agents of the ILA and the ILA Great Lakes who oversaw could

control the actions of ILA Local 1982.

       37.     The ILA and the ILA Great Lakes planned, institgated and independently

participated in Local 1982’s illegal conduct.

       38.     Accordingly, the ILA and the ILA Great Lakes are jointly and severally liable for

the unlawful conduct in violation of the Secondary Boycott of § 8(b)(4) and/or § 8(e) of the

Labor Management Relations Act (“LMRA” or “Act”) and for which damages are allowed under

the LMRA.

       39.     Further, because Yockey and M. Baker were also acting on behalf of ILA Local

1982, it is also jointly and severably liable for the same damages that these Trustees created

during their tenure.



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       40.     Yockey and M. Baker assertedthat theywere the only people in charge of Local

1982 and neither the ILA nor ILA Great Lakes can assert any defense that they are not jointly

and severally liable for the actions of ILA Local 1982.

       41.     The ILA and the ILA Great Lakes independently participated in, authorized,

ratified, were the agents of ILA Local 1982 and engage in conduct that they would be liable for

with respect to any of the unlawful conduct performed on behalf of or in the name of ILA Local

1982 and, as such are not shielded from liability.

       42.     Yockey and M. Baker were in charge of ILA Local 1982 and they who planned,

participated in, authorized, ratified, were the agents of and engaged in conduct that makes the

ILA and ILA Great Lakes liable with respect to all the unlawful conduct performed on behalf of

or in the name of ILA Local 1982.

       43.     Before the ILA placed ILA Local 1982 into Trusteeship and subsequently

appointed Yockey and M. Baker as Co-Trustees, shipping companies whose ships delivered

cargo to Midwest advised Midwest the that they were receiving threats from the President of ILA

Great Lakes, John D. Baker Jr., who was also speaking on behalf of then ILA Local 1982

President, Otis Brown, that the shipping companies could expect labor trouble if their ships

docked at the Toledo Port, the facility operated by Midwest.

       44.     On March 28, 2013, in response to said threats, Midwest wrote a letter to both the

Presidents of ILA Local 1982 and ILA Great Lakes, that such threats were unlawful and if any

ships experienced labor trouble, Midwest would sue the Unions under the law to recover its

damages. A true and accurate copy is attached hereto as Exhibit O.

       45.     Neither Local 1982 nor the ILA Great Lakes responded to Plaintiff’s

correspondence.



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          46.   Nevertheless, Midwest stopped receiving any complaints from the Shipping

Companies that they were being threatened with labor trouble if they docked at Midwest’s

facility.

          47.   Labor peace against the Shipping Companies lasted from March 28, 2013 to

approximately for 4 years therafter.

          48.   In 2017, ILA Local 1982 – under the direction and control of Yockey and M.

Baker –changed its tactics. Specifically, on or about April 25, 2017, the Defendants begain a

plan of action against the Shipping Companies who were delivering cargo to Midwest facility.

          49.   The Defendants, through Yockey and/or M. Baker entered into an explicit or

implied agreement with the LPA and the Pilots to unlawfully coordinate with the Defendants to

have the Pilots stop providing shipping services to the neutral shipping companies when ships

either entered or left the Toledo Port.

          50.   The above agreement was at the control and direction of the Defendants.

          51.   The Lakes Pilots Association, Inc. (hereinafter “LPA”) is the Company that

supplies Pilots to navigate International Ships through the Great Lakes for docking at Midwest’s

facility.   LPA is incorporated in the State of Michigan and provides professional pilotage

services to ships navigating the waters of Lake Erie as well as the Detroit and St Clair river

system, along with all of the associated ports.

          52.   The LPA Pilots are Independent Contractors and are hired by the shipping

companies Independent Contractors to do a specific job duty – comply with Coast Guard

regulations, by moving the ships on the Great Lakes and when instructed to, in to and out of the

ports.




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       53.     The Pilots who LPA refers to International shipping companies are not employees

of the LPA. They are self-employed independent contractors who run their own independent

businesses as individual Pilots.

       54.     LPA Pilots are not “employees” as defined by the National Labor Relations Act.

They specifically excluded from the coverage of that statute.         Section 2(3) of the Labor

Management Relations Act in relevant part states:

       The term “employee” shall include any employee, and shall not be limited to the
       employees of a particular employer, unless the Act [this subchapter] explicitly
       states otherwise, and shall include any individual whose work has ceased as a
       consequence of, or in connection with, any current labor dispute or because of any
       unfair labor practice, and who has not obtained any other regular and substantially
       equivalent employment, but shall not include any individual employed as an
       agricultural laborer, or in the domestic service of any family or person at his
       home, or any individual employed by his parent or spouse, or any individual
       having the status of an independent contractor, or any individual employed
       as a supervisor,….

       55.     Therefore, under this statute, the LPA itself is a company containing only

supervisors and the LPA Pilots are without question Independent Contractors who are

specifically excluded from coverage of the National Labor Relations Act.

       56.     Accordingly, the Pilots had no right or protection under Section 7 of the National

Labor Relations Act to honor any so-called ILA Picket as they have no rights under the LMRA.

       57.     Pursuant to the Natioal Labor Relations Act, 29 U.S.C. § 151–169, the

International Shipping Companies and the companies who pay them to have their cargo picked

up or delivered to the Midwest Port at Toledo, are neutral parties to any labor dispute between

Plaintiff and the Defendants.

       58.     It is unlawful for the Defendants to coordinate with the LPA Pilots in order that

the Pilots cease or refrain from handling, using, selling, transporting or otherwise dealing in any

of the products of any International Shipping Company.

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       59.     It is a further violation of the law for the Defendants, under the direction and

control of Mr. Yockey M. Baker to use their own members’ picketing to engage conduct with an

object of forcing or requiring an employer to cease doing business with another employer.

       60.     The ILA Local 1982 pickets unlawfully intended as an object to stop the Pilots

from either docking the international ships or allowing those ships to leave the Toledo Port in

order to force or require the International Shipping Companies to stop doing business with

Midwest.

       61.     Midwest does not hire the Pilots.

       62.     ILA Locla 1982 does not allege – nor has it ever alleged – that the Pilots were

performing ILA work.

       63.     The Pilots are hired by the neutral International Shipping Companies.

                                             April 25, 2017

       64.     On April 25, 2017, ILA Local 1982 on behalf of all of the Defendants prevented

one ship owned by FedNav, the largest International Shipping Company headquartered in

Canada, from leaving the dock operated by Midwest and prevented another ship owned by

FedNav from docking its ship at the dock operated by Midwest.

       65.     To give an excuse and false appearance of legitimacy, per the express or implied

agreement, ILA Local 1982 set up “pickets” about a mile away from the Midwest dock for the

sole purpose to give the Pilots an excuse not to move the ships.

       66.     All Midwest employees, even ILA Local 1982 members, crossed this fake

“picket.”

       67.     However, the LPA Pilots refused to board the ships or dock the ships while this

“picket” was ongoing per the express or implied agreement with the Defendants.



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       68.     LPA was in direct contact with ILA Local 1982, which coordinated their

“picketing” to coincide with the refusal of the Independent Contractor Pilots from moving their

ships in and out of the Midwest dock.

       69.     This action was also aimed at the Shipping Companies as a warning to them this

could continue and for them to stop doing business with Midwest.

       70.     This action resulted in damages to Midwest.

       71.     The picket was unlawful because it was not directed to Midwest, was not even

close to Midwest’s main gate entrance, and was intended to emesh numerous private companies

who were not involved in the labor dispute between the Defendants but they were all required to

“cross” this so called picket line for their employees to go to work.

                                              April 27, 2017

       72.     On April 27, 2017, Yockey, on behalf of the Defendants, attended a meeting with

the Toledo-Lucas County Port Authority (hereinafter “Port Authority”), where he admitted that

ILA Local 1982 had blocked the ships at the Midwest Port, that his goal was to have these

neutral shipping companies abandon the cargo at Midwest.

       73.     Because the LPA Pilots had to be coordinated with the Defendants to stop the

ships, his statement was an admission that the Pilots had an express or implied agreement that

they would refuse to handle International Shipping and process their cargo under Yockey’s

control and on behalf of the Defendants.

       74.     The plan was simple – the Defendants gave the signal picketing to the LPA Pilots

who then blocked the ships from leaving or entering the dock.




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         75.   Yockey also unlawfully threatened Midwest and the Port Authority that the

Defendants would engage in additional coordinated actions with the LPA Pilots to stop future

ships.

         76.   Yockey’s stated intent at this meeting was to force or require these International

Shipping Companies and their Midwest customers, whose cargo were on those ships, to stop

doing business with Midwest.

         77.   Yockey’s action violated the law pursuant to the Hot Cargo agreement express or

implied that the LPA Pilots had agreed not to pilot the International Ships or deliver their cargo.

         78.   Yockey’s action also violated the law pursuant to Secondary Picketing because

the object of the picketing was to stop the neutral companies from doing business with Midwest.

         79.   The Defendants knew and understood that the intent of their actions were to force

or require these Shipping Companies and their customers businesses whose cargo they carried to

stop doing business with Midwest.

         80.   Thus, since the Defendants are not licensed Pilots allowed by the Coast Guard to

operate ships, the only way Yockey could declare that he can stop future ship movement is based

upon an express or implied agreement with the Defendants and the LPA Pilots that the ships do

not move until the Defendants say they move.

         81.   Accordingly, Yockey’s declaration that he will decide when ships move into and

out of the Midwest Port can only be possible if there was an express or implied agreement that

the LPA Pilots would refuse to move ships for the neutral shipping companies on the basis of

what the Defendants tell them to do.

         82.   This action resulted in damages to Midwest.

                                            October 26, 2017



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       83.    On or about October 26, 2017, the express or implied agreement continued

between the Defendants and the LPA Pilot who stopped performing work for another shipping

company and the Pilot refused to move a ship at Midwest’s dock.

       84.    The Defendants knew and understood that the intent of their actions were to force

or require these International Shipping Companies and their cargo companies who had contracts

with Midwest to stop doing business with Midwest.

       85.    This action resulted in damages to Midwest.

                                          November 7, 2017

       86.    On or about November 7, 2017, the express or implied agreement continued

between the Defendants and with the LPA Pilot who refused to move a ship at Midwest’s dock.

       87.    In an effort to resolve the LPA Pilots refusal move ships Midwest set up a

reserved gate system with a specific gate designated for the ILA Local 1982 picket and others,

and a second gate for neutrals like the LPA Pilots and the Shipping Companies.

       88.    Neither the ILA Picket nor the LPA Pilots recognized the reserved gate system.

       89.    The picket line was erected shortly before the Pilot arrived.

       90.    No other ILA members honored the picket line.

       91.    No Midwest employees honored the so called “picket.”

       92.    The only person(s) who honored the “picket” was the LPA Pilot under the

unlawful express or implied agreement with the Defendants.

       93.    The Defendants knew and understood that the intent of their actions were to force

or require these International Shipping Companies and their cargo companies who had contracts

with Midwest to stop doing business with Midwest.

       94.    This action resulted in damages to Midwest.



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                                             Novermber 22, 2017

       95.     On or about November 22, 2017, the express or implied agreement continued

between the Defendants and the LPA Pilot who refused to move a ship at Midwest’s dock by

once again the abrupt appearance of a “picket.”

       96.     The Pilot used the “picket” as an excuse to stop work.

       97.     The Defendants knew and understood that the intent of their actions were to force

or require these International Shipping Companies and their cargo companies who had contracts

with Midwest to stop doing business with Midwest.

       98.     This action resulted in damages to Midwest.

                                                April 8, 2018

       99.     On or about April 8, 2018 the express or implied agreement continued between

the Defendants and the LPA Pilots who refused to move a ship at Midwest’s dock using the

standard excuse of the so-called “picket.”

       100.    Again, the “picket” was nowhere near Midwest’s property.

       101.    The Defendants also exercised a new illegal tactic – a boat in the water a long

distance from the dock.

       102.    The Defendants engaged in water picketing directly at the ships coming into the

waters of the river.

       103.    The Defendants targeted a neutral ship in the open water in order to get the ship to

stop doing business with Midwest.

       104.    This action was a signal to the Pilots to turn their ships around and not dock at

Midwest’s facility or to refuse to move the ships from Midwest’s facility.




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       105.    Yockey, acting on behalf of the Defendants, used his pontoon boat to go out onto

these waters and “picket” neutral ships and he did so when an International ship was coming into

the river both day and night, or when a ship was scheduled to depart the dock.

       106.    While engaging in water picketing from his pontoon boat, Yockey contacted the

ships via radio and talked to the Pilots about the water picket to ensure the Pilots refused to cross

the water picket and abide by their agreement

       107.    The Defendants knew and understood that the intent of their actions were to force

or require these International Shipping Companies and their cargo companies who had contracts

with Midwest to stop doing business with Midwest.

       108.    This action resulted in damages to Midwest.

                                                May 2, 2018

       109.    On or about May 2, 2018 the express or implied agreement continued between

LPA and ILA Local 1982 and the LPA Pilot who refused to dock a ship at Midwest’s dock.

       110.    The Pilot then moved the ship out of the channel and departed the area to the

Northeast back into Lake Erie.

       111.    The ship did not return until the following day, May 3, 2018.

       112.    When it did return, the Pilot once again refused to dock the ship.

       113.    Upon information and belief, under Coast Guard regulations, the Captain of the

ship took control of the ship and called for tugs to dock the ship.

       114.    The tugs arrived and docked the ship.

       115.    After the ship was unloaded and scheduled for departure on May 6, 2018, the

Pilot refused to move the ship.




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          116.   Again, the so-called picket was the excuse even though nobody at Midwest,

including the ILA members, recognized the picket as legitimate.

          117.   Throughout this time period the water picket was also used an excuse not to move

ship.

          118.   The Defendants knew and understood that the intent of their actions were to force

or require these International Shipping Companies and their cargo companies who had contracts

with Midwest to stop doing business with Midwest.

          119.   This action caused damage to Midwest.

                                              May 10, 2018

          120.   On or about May 10, 2018, the express or implied agreement continued between

the Defendants and the LPA Pilot who refused to move a ship from Midwest’s dock.

          121.   Consequently, there were now two ships docked at Midwest’s facility that had

been unloaded but not moved from the dock.

          122.   Both the unlawful land and water picketing continued and was used by the Pilots

not to move these ships.

          123.   The Defendants, the LPA and the LPA Pilot knew and understood that the intent

of their actions were to force or require these International Shipping Companies and their cargo

companies who had contracts with Midwest to stop doing business with Midwest.

          124.   This action resulted in damages to Midwest.

                                              May 12, 2018

          125.   On or about May 12, 2018, the express or implied agreement between All ILA

Defendants and the LPA Pilot continued.




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       126.    Upon information and belief, at some time later that night and at the direction of

the Defendants, the LPA Pilot docked the ship at Midwest’s facility with the specific intention

not to allow that ship to leave.

       127.    Both the unlawful land and water picketing continued and was used by the Pilots

as an excuse not to move these ships.

       128.    Consequently, after the ship was unloaded, the LPA Pilot refused to move the

ship form Midwest’s dock.

       129.    Accordingly, three ships were now docked at Midwest’s facility that had been

loaded but not moved.

       130.    The Defendants, the LPA and the LPA Pilot all knew and understood that the

intent of their actions were to force or require these International Shipping Companies and their

cargo companies who had contracts with Midwest to stop doing business with Midwest.

       131.    This action resulted in damages to Midwest.

       132.    On May 13, 2018, Yockey on behalf of the Defendants boasted in a Press Release

that the labor dispute with Midwest was with the “International Longshoremen’s Association”

and that there were “three foreign flag vessels trapped in the Port for over a week.”

       133.    The only way these ships could be “trapped” in the Toledo Port was by an express

or implied agreement between the Defendants and the Lake Pilots exactly as Mr. Yockey had

predicted as early as April 27, 2017, a year prior.

       134.    The Defendants are not licensed Pilots allowed by the Coast Guard to operate

ships as Pilots. As such, the only way that Yockey can declare that ship movement is based upon

what the ILA says, is if there is an express or implied agreement with the Defendants and the




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LPA Pilots that the ships do not move until the ILA says they move. A true and accurate copy is

attached hereto as Exhibit P.

        135.    Upon information and belief, these ships were blockaded at the Midwest Port for

approximately two weeks before Midwest and the shipping companies were able to secure

permission from the Coast Guard to have the ships moved without a Pilot.

        136.    During this time period, the Defendants indefinitely held hostage the International

Ships coming into the Midwest dock, that under Coast Guard regulations, could not be moved

without a Pilot.

        137.    Thus, as a direct result of the Defendants actions of blockading the Toledo Port

and preventing the International Shipping Companies from moving their ships at a fear of a

tremendous cost, Midwest lost all international Shipping Business from that point until the Coast

Guard prohibited Great Lakes Pilots from coordinating with the Defendants to stop interstate

commerce.

        138.    From early May 2018 until the first International Ship arrived on or about October

2, 2018, Midwest suffered massive amounts of damages.

        139.    In addition, many International Shipping Companies and their cargo business

customers contracted with other Ports for the delivery of their products.

                                             COUNT I

                           Violation of Hot Cargo Agreement Prohibition
                           Under The Labor Management Relations Act

        140.    Midwest hereby restates and alleges all of the paragraphs 1 through 139 above as

if fully set forth here.

        141.    Section 8(e) of the Act provides that “[i]t shall be an unfair labor practice for any

labor organization and any employer to enter into any contract or agreement, express or implied,

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whereby such employer ceases or refrains or agrees to cease or refrain from handling, using,

selling, transporting or otherwise dealing in any of the products of any other employer…”

        142.    As set for above the LPA and the Independent Contractor Pilots as “companies”

and the Defendants as the “union” had entered into an agreement either express or implied that

the LPA and the Independent Contractor Pilots would stop working for the International

Shipping Companies upon a signal picket from the ILA.

        143.    This agreement to stop handling the International Shipping Company vessels and

to follow the standard protocol of docking or showing up to move the ship out of the dock was a

violation of the statute and it treated these ships and the cargo they carried as “Hot Cargo” in

violation of Section 8(e) of the Act.

        144.    It also is a violation of Section 8(b)(4) of the Act that prohibits any agreement in

violation of Section 8(e).

        145.    Under Section 303 of the Act, any violation of Section 8(b)(4) entitles Midwest to

money damages for its losses from a Labor Organization only.

        146.    Therefore, by the express or implied agreement by the private Employer LPA and

the Independent Contractor self-employed LPA pilots had with the Defendants that they would

honor a signal picket and refuse to handle the International Shipping Companies vessels or the

cargo inside, the Defendants have violated the Hot Cargo prohibitions of the LMRA.

        147.    As a direct result, Midwest suffered massive damages.

                                            COUNT II

                             Violation of Secondary Picketing Under The
                                  Labor Management Relations Act

        148.    Midwest hereby restates and alleges all of the paragraphs 1 through 147 above as

if fully set forth here.

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       149.   Under Section 8(b)(4) of the LMRA it is a violation of the law for a Union to

picket with the objective to have neutral secondary companies cease doing business with the

Company that the Union has the primary dispute.

       150.   As declared as early as April 27, 2017 by Yockey, the Defendants had stopped the

FedNav ships on April 25, 2017 and he would do it again.

       151.   The Defendants wanted the International Shipping Companies to stop delivering

their Cargo to Midwest and wanted that Cargo abandoned as Yockey expressly stated that his

objective for the picketing of Midwest was to have the International Shipping Companies and the

Companies whose cargo they carried stop doing business with Midwest.

       152.   Yockey and the Defendants achieved that goal.

       153.   In doing so they had to violate the Secondary Picketing prohibitions of the

LMRA.

       154.   Under Section 303 of the Act, any violation of Section 8(b)(4) entitles Midwest to

money damages for its losses from a labor Organization only.

       155.   By engaging in Secondary Picketing with the specific intent to have the LPA

pilots honor a signal picket with the specific objective of the International Shipping Companies

and the Companies whose cargo was carried inside the ships and were contractually under

contract with Midwest to refuse to do business with Midwest, the Defendants have violated the

Secondary Picketing prohibitions of the LMRA.

       156.   As a direct result, Midwest suffered massive damages.

        WHEREFORE, the Plaintiff prays for the following relief:

      1. That Defendants ILA, ILA Great Lakes and ILA Local 1982 individually be found to

         have jointly and severally violated the prohibitions of Hot Cargo agreement provision


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   of the LMRA.

2. That Defendants ILA, ILA Great Lakes and ILA Local 1982 individually be found to

   have jointly and severally violated the prohibition of the Secondary Picketing

   provision of the LMRA.

3. That this Court award damages against the ILA, ILA Great Lakes and ILA Local 1982

   individually in an amount according to proof.

4. That the Court award pre-judgment interest.

5. That the Court award reasonable attorney fees and costs as provided under the statute.

6. That the Court order further relief as deemed just and proper.


                                      Respectfully submitted,

                                      /S/ Ronald L. Mason
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                                  JURY DEMAND

Plaintiff demands a trial by jury for all issues Plaintiff is entitled.

                                       Respectfully submitted,

                                       /S/ Ronald L. Mason
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Plaintiff’s Second Amended Complaint was filed

electronically with the Clerk of Court on January 18, 2020 using the CM/ECF system. The

CM/ECF system will serve notice of filing upon all parties registered to receive service via this

system.



                                            /s/ Aaron Tulencik
                                            Aaron Tulencik (0073049)




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